      Case 4:22-cv-04210   Document 100      Filed on 05/21/25 in TXSD      Page 1 of 1


                         UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

JUSTIN PULLIAM                              §
                                            §
      Plaintiff(s),                         §
VS.                                         §      CIVIL ACTION NO. 4:22−cv−04210
                                            §
FORT BEND COUNTY, TEXAS, et al.             §
                                            §
      Defendant.                            §


                                NOTICE OF SETTING

     A Status Conference has been set in this matter for 03:00 PM on 6/3/2025. The hearing
will be conducted using the ZoomGov.com videoconferencing program.

 Join the hearing on ZoomGov.com by clicking or copying and pasting the following link:
 https://www.zoomgov.com/j/1605822138?pwd=qJaba94CnaNCbeglNnagaLb8DwazOb.1
                        Meeting phone number: 1−669−254−5252
                               Meeting ID: 160 582 2138
                              Meeting Password: 088387

    Parties should be prepared to discuss all pending issues before the Court. Failure to
appear may result in the case being dismissed for want of prosecution and/or sanctions as
deemed appropriate by the Court.


      Date: 5/21/2025                           Kimberly Picota
                                                cm4147@txs.uscourts.gov
                                                Case Manager to
                                                U.S. District Judge George C. Hanks, Jr.
